38-44. (Rev. 06/37) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEH INSTRUCTIONS ON NEXT PAGE OF THIS FORM. )

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(b) County of Residence of First Listed Plaintiff Cr Coeyy County of Residence of First Listed Defendant
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I. BASIS OF JURISDICTION (Place an “X" in One Box Only) Til. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" it Qne Box for Plaintift
. (For Diversity Cases Only) and One Box for Defendant)
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Defendant (indicate Citizenship of Parties in Hem dit) of Business in Another State
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IV. NATURE OF SUIT (Place an "X" in One Box Only) Click here for:
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OF 140 Negotiable instrument Liability . OC 367 Health Care/ 1 400 State Reapportionment
0 150 Recovery of Overpayment 20 Assault, Libel & Pharmaceutical = PROPERTY, RIGHTS =} 0) 410 Antitrust
& Enforcement of Judgment Slander Personal injury CG 820 Copyright: O 430 Banks and Banking
O 15] Medicare Act 0) 330 Federal Employers’ Product Liability F 830 Patent 1 450 Commerce
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G 224 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant} CO 899 Administrative Procedure
CF 230 Rent Lease & Ejectment G 442 Employment 1G Motions to Vacate , G 871 IRS——Third Party Aci/Review or Appeal of
O1 240 Torts to Land G1 443 Housings Sentence 26 USC 7609 Agency Decision
CF 245 Tort Product Liability Accommodations 0 530 General C1 950 Constitutionality of
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VII. RELATED CASE(S) 6 ; ¥ ° é

See instructions}:

IF ANY " JUDGE DOCKET NUMBER 3
DATE SIGNATURE OF ATTIRNEY OF RECORD
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RECEIPT # AMOUNT APPLYING IFP . JUDGE MAG. JUDGE

Case 6:25-cv-03049-BCW Document1-3_ Filed 03/07/25 Page1ofi1
